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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK




STATE OF NEW YORK, et al.,

               Plaintiffs,


       v.                                       No. 1:18-cv-2921 (JMF)

UNITED STATES DEPARTMENT OF
COMMERCE, et al.,

               Defendants.




             DEFENDANTS’ PRETRIAL MEMORANDUM OF LAW
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                                   PRELIMINARY STATEMENT

        Plaintiffs in these consolidated cases challenge the Secretary of Commerce’s eminently

reasonable decision to reinstate a question about citizenship on the decennial census, consistent with

historical practice dating back to 1820 and the Secretary’s nearly unfettered discretion over the format

and content of the census. If included, the citizenship question will be one of several demographic

questions (including ones inquiring about race, gender, and relationship status) on the census form

sent to every household. In challenging the Secretary’s decision about which questions to ask on the

census form, Plaintiffs invite this Court to second guess a policy judgment that the Constitution

reserves for the political branches of government. But the Court lacks jurisdiction to disrupt the

Secretary’s judgment because Plaintiffs lack standing to bring their claims. 1

        The evidence at trial will establish that Plaintiffs lack Article III standing and this Court

therefore lacks subject matter jurisdiction over their claims. Despite extensive discovery, Plaintiffs

have failed to produce material evidence that the reinstatement of a citizenship question will result in

an actual and concrete injury that is certainly impending and fairly traceable to the government, as

required to establish a justiciable case or controversy. Plaintiffs’ claims of Article III injury rest entirely

on the unproven assertion that the reinstatement of a citizenship question will result in a differential

undercount of the population because of a decline in self-response, leading to putative detrimental

effects on apportionment and federal funding. But Plaintiffs cannot establish the magnitude of any

alleged decline in the self-response rate, nor can Plaintiffs refute that the Census Bureau has adequate




1
  Defendants previously understood that the Court did not want to consider motions for summary
judgment in advance of trial. See ECF No. 363 (“[T]he Court remains firmly convinced that a trial will
be necessary to resolve the claims in this case…. Defendants would be far better off devoting their
time and resources to preparing their pre-trial materials than to preparing summary judgment
papers.”). Defendants submit that if the Court is willing to entertain a motion for summary judgment,
it may construe this pre-trial brief as such a motion and rule, as it should, on the administrative record
compiled by the agency. See Fed. R. Civ. P. 56(f).
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means of addressing any such decline through non-response follow-up operations and imputation.

Nor can Plaintiffs establish any material effect on apportionment or federal funding. Plaintiffs’ claims

of injury are impermissibly speculative and remote, and their claims are not fit for resolution by an

Article III court.

        In addition, the Secretary’s decision is not arbitrary and capricious or otherwise in violation of

the Administrative Procedure Act (APA). An agency need only articulate a reasonable explanation

grounded in the record that was before the agency decisionmaker to surmount the low bar of arbitrary-

and-capricious review, and the Court’s evaluation of the decision in this case must be guided further

by the enormous deference owed to the Secretary’s oversight of the decennial census. Here, the

Secretary set forth the rationale for his decision to reinstate a citizenship question in a detailed

memorandum, and the government has provided an extensive administrative record in support of that

determination. The validity of the Secretary’s decision must be judged on that objective record,

without inquiry into the Secretary’s mental state. But even if the Court were to examine Plaintiffs’

assertion that the Secretary’s decision was “pretextual,” there is no evidence to demonstrate that the

Secretary acted in bad faith and did not actually believe the rationale set forth in his decision

memorandum. And even if the Court were to conclude that the Secretary had additional motivations

for reinstating the citizenship question, that would not be grounds for invalidating the Secretary’s

reasoned policy decision that obtaining more precise citizenship data via the decennial census will be

useful to the Department of Justice in enforcing the Voting Rights Act. On any theory, Plaintiffs will

be unable to show at trial that the Secretary’s decision was unreasonable based on the record before

him.

        Plaintiffs’ second remaining claim arises under the equal protection clause. NYIC Plaintiffs

allege that the Secretary’s decision was motivated by discriminatory animus, but this claim is plainly

belied by the extensive record before the Court. Finding no help in any of the facts surfaced during


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discovery, Plaintiffs can only resort to unrelated innuendos, suggesting that the Secretary’s

conversations with third parties necessitate a finding of animus or that the Secretary’s process for

reaching his decision can only be explained by discriminatory intent. Plaintiffs have utterly failed to

make out an equal protection violation based on the paltry circumstantial evidence assembled, and

Defendants thus will be entitled to judgment after trial.

                                    FACTUAL BACKGROUND

        The Constitution requires that an “actual Enumeration” of the population be conducted every

ten years in order to allocate representatives in Congress among the States, and vests Congress with

the authority to conduct that census “in such Manner as they shall by Law direct.” U.S. Const. art. I,

§ 2, cl. 3. The Census Act, 13 U.S.C. § 1 et seq., delegates to the Secretary of Commerce the

responsibility to conduct the decennial census “in such form and content as he may determine,” and

“authorize[s] [him] to obtain such other census information as necessary.” Id. § 141(a). The Census

Bureau assists the Secretary in performing this duty. See id. §§ 2, 4. The Act directs that the Secretary

“shall prepare questionnaires, and shall determine the inquiries, and the number, form, and

subdivisions thereof, for the statistics, surveys, and censuses provided for in this title.” 13 U.S.C. § 5.

Nothing in the Act directs the content of the questions included on the decennial census.

        With the exception of 1840, decennial censuses from 1820 to 1880 asked for citizenship or

birthplace in some form, and decennial censuses from 1890 through 1950 specifically requested

citizenship information. See Opinion & Order at 8-10, ECF No. 215 (“MTD Order”). Citizenship-

related questions continued to be asked of some respondents after the 1950 Census. In 1960, the

Census Bureau asked 25% of the population for the respondent’s birthplace and that of his or her

parents. MTD Order 10-11. Between 1970 and 2000, the Census Bureau distributed a detailed

questionnaire, known as the “long-form questionnaire,” to a sample of the population (one in five

households in 1970, one in six thereafter) in lieu of the “short-form questionnaire” sent to the majority


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of households. Id. at 11-12. The long-form questionnaire included questions about the respondent’s

citizenship or birthplace, while the short form did not. Id.

        Beginning in 2005, the Census Bureau began collecting the more extensive long-form data—

including citizenship—through the American Community Survey (ACS), which is sent yearly to about

one in 38 households. MTD Order 11-12. The replacement of the long-form questionnaire with the

yearly ACS enabled the 2010 census to be a “short-form-only” census. The 2020 census will also be

a “short-form-only” census. The ACS will continue to collect additional data each year, including

information on the citizenship status of respondents. Because the ACS collects information from

only a small sample of the population, it produces annual estimates only for “census tracts” and

“census-block groups.” The decennial census is designed to undertake a full count of the people in

each state and produces, in addition to the population count, other, limited information down to the

smallest geographic level, known as the “census block.”           As in past years, the 2020 census

questionnaire will pose a number of questions beyond the total number of individuals residing at a

location, including questions regarding sex, Hispanic origin, race, and relationship status.

        On March 26, 2018, the Secretary of Commerce issued a memorandum reinstating a

citizenship question on the 2020 census questionnaire. Administrative Record (“AR”) 1313-20. The

Secretary’s reasoning and the procedural background are set out in that memorandum and in a

supplemental memorandum issued on June 21, 2018. Id. 1321. The Secretary explained that, “[s]oon

after [his] appointment,” he “began considering various fundamental issues” regarding the 2020

Census, including whether to reinstate a citizenship question. Id. As part of his deliberative process,

he and his staff “consulted with Federal governmental components and inquired whether the

Department of Justice (DOJ) would support, and if so would request, inclusion of a citizenship

question as consistent with and useful for the enforcement of the Voting Rights Act.” Id.




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        In a December 12, 2017 letter, DOJ responded that citizenship data is important to its

enforcement of Section 2 of the VRA for several reasons, and that the decennial census would provide

more-granular citizenship voting age population (CVAP) data than that provided by the annual ACS

survey. AR 663-665 [hereinafter Gary Letter]. In the letter DOJ “formally request[ed] that the Census

Bureau reinstate into the 2020 Census a question regarding citizenship.” Id. 665.

        After receiving DOJ’s formal request, the Secretary “initiated a comprehensive review process

led by the Census Bureau,” AR 1313, and asked the Bureau to evaluate the best means of providing

the data identified in the letter. The Census Bureau initially presented three alternatives. Id. 1277-85.

After reviewing those alternatives, the Secretary asked the Census Bureau to consider a fourth option,

which would combine two of the options the Bureau had presented. Id. 1316. Ultimately, the

Secretary concluded that this fourth option—reinstating a citizenship question on the census while

simultaneously linking available administrative-record data to Census Bureau files—would “provide

DOJ with the most complete and accurate CVAP data in response to its request.” Id. at 1317.

                                              ARGUMENT

    I. Plaintiffs lack standing because they cannot meet their burden of proving that their
       injuries are certainly impending.

        For Plaintiffs to demonstrate standing, they must prove, by a preponderance of the evidence,

that (1) there will be a decrease in the self-response rate specifically attributable to a citizenship question

on the 2020 Census, (2) the Census Bureau’s extensive Nonresponse Followup (“NRFU”) efforts will

not counteract such a decline, (3) the Census Bureau’s use of imputation for any remaining uncounted

households after NRFU will also not counteract such a decline, (4) if there is a net undercount after

these comprehensive operations, Plaintiffs’ particular states and localities will be undercounted more

than others (i.e., there will be a differential net undercount), and (5) if there is a differential net

undercount at the end of the months-long 2020 Census, it will actually impact the apportionment or

funding of Plaintiffs’ specific states and localities in light of both the magnitude of the differential net

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undercount and the distribution of the differential net undercount. Plaintiffs cannot prove any of

these steps, let alone all of these steps consecutively.

        And in attempting to prove standing, Plaintiffs will conflate concepts that in fact are distinct.

For example, Plaintiffs will attempt to cast noncitizens’ confidentiality concerns in the current political

climate as probative of a decline in self-response rates to the census. But if a given household is

concerned about the government’s use of their information, they may well decide not to respond to

the census with or without a citizenship question. And if a particular household is specifically

concerned about providing citizenship information such that they simply skip the citizenship question

(i.e., item nonresponse)they will nonetheless be fully counted. Similarly, if a given household is

concerned about providing citizenship information such that they stop filling out the census

questionnaire once they reach the citizenship question—a so-called breakoff—they also will be fully

counted. While these scenarios may impact the quality of the demographic data received, they do not

support Plaintiffs’ standing.

        Plaintiffs will also attempt to characterize a differential net undercount as a fait accompli if there

is a decline in self-response rate. Not so. The evidence at trial will show that the Census Bureau has

extensive NRFU operations to reach households that do not initially self-respond to the 2020 Census,

and it has ample funding to deal with even the gravest of self-response scenarios.

        Even if Plaintiffs could prove any of the foregoing, they would not be able to prove that any

differential net undercount would impact the apportionment or funding of Plaintiffs’ specific states

and localities. They have proffered no evidence or calculations based on the actual manner in which

the 2020 Census will be conducted. 2



2
  Even if Plaintiffs were able to demonstrate injury-in-fact at trial, such an injury would not be fairly
traceable to the Secretary’s decision to reinstate the citizenship question on the census; rather, such
an injury would be the result of the unlawful decision by third parties not to respond to the census
questionnaire in violation of a legal duty. 13 U.S.C. § 221. Because the Court has already addressed
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             A. Legal standards for Article III standing.

        The doctrine of constitutional standing, an essential aspect of an Article III case or

controversy, demands that a plaintiff have “a personal stake in the outcome of the controversy [so] as

to warrant his invocation of federal-court jurisdiction.” Warth v. Seldin, 422 U.S. 490, 498 (1975)

(internal citation omitted). At its “irreducible constitutional minimum,” the doctrine requires a

plaintiff, as the party invoking the Court’s jurisdiction, to establish three elements: (1) a concrete and

particularized injury-in-fact, either actual or imminent; (2) a causal connection between the injury and

defendants’ challenged conduct, such that the injury is “fairly . . . trace[able] to the challenged action

of the defendant”; and (3) a likelihood that the injury suffered will be redressed by a favorable decision.

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992).

        The standing requirement of “injury in fact” requires an allegation that the plaintiff “‘has

sustained or is immediately in danger of sustaining a direct injury’” as a result of the challenged action.

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1552 (2016) (citations omitted). The injury must be “concrete

and particularized,” Defs. of Wildlife, 504 U.S. at 560 (citations omitted), and not “merely ‘conjectural’

or ‘hypothetical’ or otherwise speculative.” Summers v. Earth Island Inst., 555 U.S. 488, 505 (2009)

(quoting Defs. of Wildlife, 504 U.S. at 560). Thus, an alleged future injury must be “certainly impending”;

‘“[a]llegations of possible future injury’ are not sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398,

409 (2013) (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990), emphasis in Clapper).

        The “fairly traceable” prong of standing requires Plaintiffs to prove that their certainly

impending injuries “fairly can be traced to the challenged conduct of the defendant, and not injury

that results from the independent action of some third party not before the court.” Simon v. E. Ky.




this purely legal argument, MTD Order at 28, Defendants do not reiterate it here. At trial, however,
Plaintiffs will also fail to prove that their speculative injuries are specifically attributable to a citizenship
question, thus also failing the fairly-traceable prong of standing as a factual matter.
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Welfare Rights Org., 426 U.S. 26, 41-42 (1976). In the census context, merely a showing of differential

net undercount is not enough; there has never been a perfect census count. See Carey v. Klutznick, 653

F.2d 732, 735 (2d Cir. 1981. Plaintiffs instead must prove by a preponderance of the evidence that

any differential net undercount is specifically attributable to the citizenship question.

        As the parties invoking federal jurisdiction, Plaintiffs bear the burden of establishing these

elements of standing “with the manner and degree of evidence required at the successive stages of the

litigation.” Defs. of Wildlife, 504 U.S. at 561. If Plaintiffs cannot prove standing by a preponderance

of the evidence, Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000), the Court must refrain

from addressing the merits of Plaintiffs’ APA and equal protection claims because “[f]ederal courts

may not decide questions that cannot affect the rights of litigants in the case before them or give

opinions advising what the law would be upon a hypothetical state of facts.” Chafin v. Chafin, 568 U.S.

165, 172 (2013) (alterations and citations omitted).

            B. Plaintiffs cannot prove the magnitude of any decline in self-response rate
               attributable to the citizenship question.

        Defendants expect that Plaintiffs will attempt to quantify the potential decline in self-response

rates for certain subpopulations. But any attempt to do so is pure speculation. In particular, Plaintiffs

will rely heavily on the Census Bureau’s August 6, 2018 technical paper that attempted to examine the

impact of a citizenship question on self-response rates. 3 Defs.’ Ex. DX-002 (“Technical Paper”). But

while Plaintiffs may attempt to make much of the few salient conclusions, they will not prove either

the magnitude of any decline in self-response rates or any impact on the Census Bureau’s ability to

count those who would be counted absent a citizenship question sufficient to establish a certainly




        3
         The Technical Paper post-dated the Secretary’s March 26, 2018 decision and therefore it
cannot bear on the merits of Plaintiffs’ APA claim because it was not part of the “whole record”
before the agency. See infra.
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impending injury. Plaintiffs’ other attempts to quantify declines in self-response rates will similarly

fail, as they are based only on a deeply flawed telephone survey or otherwise pulled from thin air.

                       1. The analysis in the Technical Paper does not demonstrate the amount
                          of any decline in self-response rate.

        The Technical Paper’s analysis concludes that there may be a 5.8% decrease in self-response

rates for households potentially containing noncitizens. Ex. DX-002 at 42. But the 5.8% is far less

significant than Plaintiffs will claim.

        The Technical Paper determines this number in four steps. First, it subtracts the response

rates to the 2010 Census short-form questionnaire (without a citizenship question) from the response

rates for the lengthy 2010 ACS questionnaire (with a citizenship question) for two groups: an all-

citizen-household group and an every-other-household group. Ex. DX-002 at 35 tbl. 6. The latter

group—every other household—includes both confirmed noncitizen households and households

with uncertain citizenship status. Id. at 33-36. Second, the Technical Paper subtracts the all-citizen-

household difference in response rate (–8.9) from the every-other-household difference in response

rate (-20.7), which results in a “difference-in-differences” of –11.9. Id. at 36 tbl. 7. Third, because

there are many questions that may cause a household to forego answering the ACS, the Technical

Paper performs a “Blinder-Oaxaca Decomposition” control for certain other questions on the ACS.

Id. at 36. The decline in response rates attributable to the controlled-for ACS questions is considered

“explained” (–5.8) and the decline in response rates attributable to other questions—including the

ACS citizenship question—is considered “unexplained.” Id. at 38 tbl. 8. Fourth, the Technical Paper

uses updated 2016 ACS data to model the “unexplained” portion of the foregoing analysis, resulting

in a 5.8% response-rate decline for households potentially containing noncitizens. Id. at 39 tbl. 9.

        As the Census Bureau’s Chief Scientist Dr. John Abowd has testified on multiple occasions,

the Technical Paper’s analysis was far from ideal. Because this analysis was based on a “natural

experiment”—an observational study conducted from real-world data—rather than a “randomized

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controlled trial”—an assignment of subjects to control and treatment groups to minimize bias—the

Technical Paper’s quantitative numbers are of limited value. Specifically, the Technical Paper suffers

from three deficiencies. First, in performing the Blinder-Oaxaca Decomposition at Step Three, above,

the Technical Paper controlled for only certain ACS questions. However, other ACS questions could

have contributed to lower ACS response rates for the every-other-household group, including wages

earned, taxes paid, and health insurance. Second and similarly, the Blinder-Oaxaca Decomposition at

Step Three could not take into account the cumulative impact of asking 73 questions, many of which

are invasive, to potential noncitizen households. While any one question may cause such households

not to respond to the ACS, it is quite possible that the cumulative impact of the lengthy ACS

questionnaire contributed to the lower self-response rates for potential noncitizen households. Third,

the Technical Paper does not, and cannot, account for the changing macro environment. Potential

noncitizen households that may have responded to the census in 2010 may be unlikely to do so in

2020 with or without a citizenship question. In other words, the Technical Paper’s analysis (based on

census and ACS response rates from 2010) cannot be easily transposed into the 2020 environment.

        The conclusion of a 5.8% decline in the response rate for potential noncitizen households is

thus flawed. In addition, the scope of the Technical Paper is limited: it analyzed only the initial decline

in self-response rate for potential noncitizen households and is silent as to any decline in self-response rate

for Hispanic households containing all citizens. Consequently, any attempt by Plaintiffs to apply the

Technical Paper’s analysis to Hispanics in general is unsupported by relevant empirical evidence.

Moreover, although the Technical Paper acknowledged that any decline in self-response rate for potential

noncitizen households would lead to disruptions in the quality of data received, it did not include any

analysis of the ultimate net undercount after NRFU and imputation. Thus the Technical Paper cannot

cast any doubt on the Census Bureau’s ability to enumerate all those who would be enumerated absent

a citizenship question.


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        While the Census Bureau performed the best possible analysis with the data at hand, at bottom,

the Technical Paper is probative only of a decline in the self-response rate for potential noncitizen

households. The Technical Paper does not provide (a) persuasive evidence for the amount of any

decline in self-response rates, (b) any evidence for a decline in self-response rates for Hispanic citizens,

or (c) any evidence of a differential net undercount after NRFU and imputation.

                      2. Plaintiffs’ other estimates cannot establish a decline in self-response
                         rate attributable to the citizenship question, let alone the magnitude
                         of any such decline.

        Plaintiffs rely, for example, on a telephone survey conducted by Dr. Matthew Barreto, the

design of which was fundamentally defective. Dr. Barreto used an opinion poll methodology that

involved calling individuals to ask whether they plan to participate in the census. But neither Dr.

Barreto’s report nor deposition testimony provide reliable evidence that an opinion poll conducted

two years in advance of the census accurately predicts likely self-response rates, particularly given the

high visibility of the actual census, the stakeholder outreach that will accompany it, and the reliable

indication of the final count after NRFU efforts. Even if individuals’ responses to hypothetical

questions posed on a telephone survey reliably predict behavior in the context of the census, Dr.

Barreto’s survey was demonstrably biased, designed both to increase respondents’ skepticism of the

decision to collect citizenship data and to encourage respondents to report an intention not to

participate. For example, the survey asked individuals whether they planned to participate in the

census survey, but then immediately asked whether they still would participate in a census survey in

which the federal government added a question about citizenship. That juxtaposition highlighted the

distinction between a census with and without this question. The framing of the question, which

discusses the federal government, not the Census Bureau, inaccurately informed respondents that

citizenship is a new question added to the form, likely causing individuals for whom citizenship is not

particularly sensitive to respond negatively due to the perceived implications of the federal government


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requiring new information. This design also fails to account for the fact that 2020 Census respondents

may not recall whether or not the 2010 form contained a citizenship question.

        Testimony at trial will reveal numerous other flaws in Dr. Barreto’s survey. At bottom,

however, this survey was demonstrably different in many ways from the census. It cannot, and does

not, provide a reliable indication of any potential impact on self-response given the reinstatement of

the citizenship question, much less—as Dr. Barreto also will testify—on the potential efficacy of the

Bureau’s NRFU operations. Dr. Barreto’s survey was poorly designed and should not be credited.

            C. Plaintiffs cannot prove that Defendants’ NRFU efforts, in conjunction with
               imputation, will not counteract any alleged decline in self-response rates.

         The Census Bureau will utilize one of the largest peacetime mobilizations in our Nation’s

history as well as high-quality administrative records from other federal agencies to enumerate all those

who would be enumerated absent a citizenship question. After the months-long, multi-step NRFU

process, the Bureau will use imputation for any remaining uncounted households. Plaintiffs will layer

speculation on top of conjecture in an attempt to demonstrate that these processes will not ameliorate

any decline in self-response rate due to the citizenship question. But a preponderance of the evidence

will not show that these operations will be ineffective.

                      1. The NRFU efforts will enumerate all those who would be enumerated
                         absent a citizenship question.

        The Census Bureau has comprehensive plans in place to maximize self-response and thereby

minimize the amount of NRFU. For example, the 2020 census will be the first to rely extensively on

digital methods and automation, and it will be the first census where individuals are encouraged to

respond online, and in a manner that eliminates the possibility of follow-up by a human enumerator.

2020 Census Operational Plan: A New Design for the 21st Century, at 15, 18-19, 26, 88 (Sept. 2017, v.3.0),

(“2020 Census Operational Plan”). Most housing units will receive mailings instructing them to

complete the census online or by telephone. Id. at 18, 21. If households do not respond by the fourth


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mailing, the full paper questionnaire will be sent. Id. at 99. Households that are less likely to have

internet access will receive a full paper questionnaire in the first mailing, allowing them to respond

immediately via mail. Id. at 91, 95. Each household will receive up to six mailings. Id. at 99. Plaintiffs

do not challenge the efficacy of these outreach efforts.

        If no response has been received after the fifth mailing, a census enumerator will be assigned.

2020 Census Operational Plan, at 114. Utilizing a state-of-the-art optimizer that efficiently assigns

cases to enumerators and provides routes for their field work, the enumerators will personally visit all

units in their set(s) of cases to verify that the address is occupied and to attempt to contact a household

member to complete the questionnaire. 4         Id.    If the enumerator is not able to complete the

questionnaire after such a visit, administrative records will be used to identify vacant housing units

and determine response data for occupied households where the Census Bureau has high-quality

administrative records. Id. at 22, 114, 117. If such records do not exist, a final postcard encouraging

self-response will be mailed, and all addresses still non-responsive after this mailing will be subject to

up to six contact attempts, with eligibility to have the data obtained from a proxy (such as a neighbor

or landlord) after the third unsuccessful attempt. Id. Any uncounted households remaining thereafter

will have their occupancy information imputed by the Census Bureau.

        Plaintiffs will focus much of their attention on the enumeration effort, contending (1) that

households who do not self-respond because of the citizenship question are unlikely to respond to an

enumerator, and (2) that proxies will not provide an accurate count. Plaintiffs will not be able to prove

either contention.

        To support their claim that households which do not self-respond because of the citizenship

question are unlikely to respond to an enumerator, Plaintiffs will rely on social science research from



        4
          The increased efficiency from these technological advances will enable the Census Bureau
to target advertising and NRFU resources toward areas with low response rates
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areas and contexts unrelated and dissimilar to the Decennial Census. None of this research will relate

(a) to the specific effect of a citizenship question, (b) on a mandatory survey, (c) with an accompanying

communications campaign utilizing units of local government, the media, and community-based

organizations to encourage self-responses and cooperation, and (d) with follow-up, in-person

interviews (by someone from the community) for individuals who do not respond. Put simply,

Plaintiffs’ social science research will have little relevance to the decennial census and to Plaintiffs’

standing. For these and other reasons, Plaintiffs’ continued reliance on a deeply flawed telephone

survey by Dr. Barreto will also have little relevance to NRFU and the Court’s inquiry.

        With respect to Plaintiffs’ assertion that proxies will not provide an accurate count, Plaintiffs

will provide little to no evidence. While Plaintiffs (and the Census Bureau) could empirically show

that proxies provide lower quality demographic information—for example, age, ethnicity, and race

data—there is no evidence suggesting that use of proxies leads to a greater net undercount or

differential net undercount in comparison to self-response or in-person interviews. Similarly, there is

a lack of evidence that imputation will be insufficient, as even Plaintiffs’ experts will admit imputation

is an accepted and reliable statistical method for supplying missing data.

                        2. The Census Bureau is fully prepared and funded to counteract any
                           projected decline in self-response rate due to the citizenship question.

        Under any of Plaintiffs’ hypothetical and speculative self-response scenarios, the Census

Bureau has the resources and planning to enumerate all those who would be enumerated absent a

citizenship question.

        The 2020 Census Life Cycle Cost Estimate (“LCCE”) includes an estimated fiscal year 2020

cost for NRFU of approximately $1.5 billion. Internal Document: September 29, 2017 version of the

2020 Census Lifecycle Cost Assumptions Table 3, NRFU Operation Costs Sub-Table, Ex. DX-005.

This estimate is based on numerous factors, including the self-response rate at the start of the

operation; self-responses received after the start of the operation; occupied, vacant and non-existent

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cases in the workload that are removed using administrative information; late additions to the

workload; the number of days worked by enumerators; the average hours the enumerators work per

day; the number of contact attempts to conduct the interview; training hours for enumerators; mileage

travelled by enumerators; and other miscellaneous expenses. Id. In fiscal year 2020, there will also be

an additional $1.7 billion in contingency funding that may be spent on NRFU. Internal email:

September 11, 2018.

       The self-response rate built into the LCCE is in the range of 55.5% to 65.5%. And although

the Census Bureau expects a self-response rate of 60.5%, all NRFU planning—including hiring of

field staff and enumerators—is based on the lower bound of this estimate, 55.5%. For each percentage

point increase or decrease in the overall self-response rate, the LCCE estimates $55 million will be

saved or spent. This estimate includes, for example, the cost of additional or lowered field supervisors

and enumerators, hours in the field, mileage, training costs, provisioning and usage of handheld

devices, and impacts on printing, postage, and paper data capture operations. 5

       Under any conceivable scenario in which self-response rates decline due to the citizenship

question, the Census Bureau is fully equipped and funded to enumerate all those who would be

enumerated absent a citizenship question. For example, if there is a 10% decline in self-response

among potential noncitizen households—far beyond the Technical Paper’s 5.8% calculation—and

using the largest estimate that 28.6% of households in the country match that description, then the

predicted increase in the NRFU workload would be approximately 3.6 million addresses. The

potential decrease in the overall self-response rate would be 2.5%. Assuming $55 million per percentage




       5
          The estimate assumes that the increased or decreased percentage of housing unit addresses
self-responding is not easier or harder to count than a representative percentage of those not
responding to the census.
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point decrease in self-response rate, this scenario would increase NRFU costs by $137.5 million, far

below the $1.7 billion in fiscal year 2020 contingency funding.

            D. Plaintiffs cannot prove that any differential net undercount will materially
               impact apportionment or federal funding.

        Plaintiffs raise two theories as to how they would be harmed by a differential undercount: (1) a

differential undercount will cause Plaintiffs to cause a dilution of their legislative representation, see,

e.g., Second Am. Compl. ¶ 155, ECF No. 214 (“SAC”); and (2) a differential undercount will cause

harm in the form of a loss of federal funding under certain federal programs that use census data in

part to determine funding amounts, see, e.g., SAC ¶ 138. However, they will be unable to prove, as

they must, that there is an imminent, concrete risk of either harm.

        Plaintiffs’ assertion of harm is expected to rely almost entirely upon the anticipated testimony

of Dr. Warshaw, who is expected to testify that a differential undercount will affect apportionment

of representation at both the state and local levels, as well as cause a loss of federal funding. However,

Dr. Warshaw’s opinion is based upon a series of methodological flaws and faulty assumptions.

        Most notably, the premise for Dr. Warshaw’s opinion is fundamentally flawed because the

estimates he uses for the extent of the hypothetical differential undercount are based entirely upon

estimates of the initial, not the final, non-self-response rate. Dr. Warshaw simply assumes that any

impact the citizenship question has on the initial non-self-response rate will lead to an impact in the

same proportion on the final non-response rate. In doing so, Dr. Warshaw presumes without any

basis that the Census Bureau’s NRFU efforts will not have any impact on the initial non-self-response

rates. Dr. Warshaw even stated during his deposition testimony that he failed to take NRFU into

account because, despite the availability of historical NRFU success rates, it was impossible to predict

how successful NRFU would be because it was in the future and he could not predict what NRFU

measures Census Bureau would take. Dr. Warshaw thus implicitly recognizes the entirely speculative

basis for Plaintiffs’ claims about a differential undercount. Dr. Warshaw also has acknowledged that

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his predictions ignore imputation. Simply put, Dr. Warshaw’s opinion that there will be a differential

undercount is based upon ignoring the two (historically significant and successful) methods the Census

Bureau has in place for making sure an undercount does not happen. Because governments use the

final census numbers, not the initial self-response rates, to calculate representational apportionment

and to plug into funding formulas for programs, any analysis of response rates that wholly ignores

NRFU or imputation cannot form the basis of concrete, imminent injury here.

        In addition, Dr. Warshaw is not expected to offer any testimony that it is more likely than not

that any specific governmental Plaintiff will be harmed in the form of a loss of representation as a

result of the estimated differential undercount. While Dr. Warshaw performed calculations as to

which states may lose a Congressional representative due to a differential undercount, under his own

calculations he estimates that the only States that are more likely than not to lose a Congressional

representative are California and Texas, neither of which are State Plaintiffs in this action. Because each State

Plaintiff must demonstrate standing on its own, and Plaintiffs’ own expert concludes that none of

State Plaintiffs here is likely to lose Congressional representation, this should defeat any standing claim

based upon the loss of Congressional representation.

        As to representation at the state and local levels, Dr. Warshaw admitted in his deposition that

he had not performed any calculations or estimates as to the likelihood a differential undercount would

cause a loss of representation as to any specific City or County Plaintiff, and therefore could provide

only a generalized opinion that a differential undercount would have some impact on state and local

apportionment. However, such a generalized opinion, without any attempt by Plaintiffs to produce

evidence of impact on a specific entity, falls short of each Plaintiff’s burden of proving standing to

bring its claims.

        Plaintiffs also assert that they will be harmed by a differential undercount in the form of a loss

of federal funding. Plaintiffs primarily rely upon the opinion and anticipated testimony of Dr. Andrew


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Reamerfor their claim that State governments may lose funding. 6 However, Dr. Reamer’s analysis is

based entirely upon the undercount scenarios devised by Dr. Warshaw. This is true even though Dr.

Reamer concedes that all of the funding formulas for Government programs he used in his

calculations rely upon the final, post-NRFU and imputation numbers, not the initial non-response

rates upon which Dr. Warshaw based his estimates. Dr. Reamer also conceded in deposition

testimony that Census NRFU efforts can reduce the initial nonresponse rates. Accordingly, because

Dr. Reamer’s calculations are based entirely upon the deeply flawed differential undercount scenario

estimates calculated by Dr. Warshaw, the relevance and helpfulness of Dr. Reamer’s calculations are

undermined to the same extent as Dr. Warshaw’s.

            E. NGO Plaintiffs do not have standing because they cannot show that any of their
               members have standing.

        Finally, even if Plaintiffs were able to prove that (a) there was a decline in self-response

attributable solely to the reinstatement of a citizenship question; (b) that the Census Bureau’s NRFU

and imputation efforts were insufficient to counteract that decline; and (c) that the undercount had a

differential impact on certain populations; and (d) the undercount had a harmful effect, in the form

of either a loss of legislative representation or the loss of federal funding, of state governments, the

non-governmental organizational (NGO) Plaintiffs will still be unable to establish standing to pursue

their claims because they will be unable to demonstrate any harm to them or their members.

        The NGO Plaintiffs’ allegations of injuries are generally premised on the allegation that a

differential undercount will lead to a reduction in federal funding that will harm either the

organizations or the individual members of such organizations. See, e.g., SAC ¶¶ 26, 38, 52, 55.



        6
           To the extent Plaintiffs may rely upon Dr. Warshaw’s testimony that a differential
undercount will cause Plaintiffs to lose funding, such testimony should not be considered because he
has not performed any analysis of any such potential loss and acknowledged in deposition testimony
not only that his opinion on this issue is based entirely on a generalized conclusion but also that he is
unable to quantify the likelihood of a loss of funding.
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However, Plaintiffs will not be able to produce evidence at trial that proves that any individual member

or any organization will be directly harmed by a theoretical reduction in federal funding. Plaintiffs’

proposed expert on Government funding formula expert, Dr. Reamer, did not analyze a single

program in which funding was directly provided from the federal government to nonprofit

organizations: all five programs he analyzed involved funding to state governments, not nonprofit

organizations or individuals. NGO Plaintiffs will also not be able to show any evidence at trial that

any individual group member is likely to be individually injured as a result of any theoretical reduction

in funding to the state in which he or she resides.

        No individual member of an NGO Plaintiff will be able to prove any harm as a result of any

predicted reduction in state funding for Medicaid. This is because Medicaid uses a formula based on

the Federal Medical Assistance Percentages (FMAP) to determine the amount of funding that will be

used to reimburse states for certain expenditures under the two programs. Medicaid is administered by

the states, including the beneficiary eligibility criteria. Because states set the Medicaid eligibility criteria

and also partially fund the program, the most likely result of a reduction in funding is that states will

contribute slightly more and Medicaid services will continue uninterrupted for most if not all

beneficiaries, who cannot claim to have been harmed as a result of a slight shift in funding. 7

        Several NGO Plaintiffs allege that their individual members may be harmed as result of a

reduction in federal Title I funding. See, e.g., SAC ¶¶ 26, 38, 52. However, none of NGO Plaintiff’s

members will be able to prove any personal harm as a result of a possible reduction in Title I funding.

Like Medicaid, Title I grants are given by the federal government to state and tribal governments. The




        7
          This analysis is equally true of Children’s Health Insurance Program (CHIP), which, like
Medicaid, is a program in which the amount of federal reimbursement funding to the states uses a
formula based on FMAP and for which states are responsible for defining eligibility criteria and
administering the program.


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state and tribal governments then have some discretion about the best way to allocate the use of such

funds to qualifying local educational agencies (LEAs). If there were a reduction in funding as a result

of a differential undercount that led to a reduction in Title I funding for certain states 8, it would be up

to those state governments to determine funding amounts for LEAs. Therefore, for any individual

member of a NGO Plaintiff to prove an imminent risk of injury, in addition to proving that there will

be a differential undercount attributable solely to the citizenship question which causes a reduction in

federal Title I funding, he or she also must demonstrate at a minimum that his or her state would

allocate the Title I funds the reduced amount of funds in such a way as to lead a reduction in a

particular LEA. NGO Plaintiffs will be unable to do so at trial.

          Finally, some NGO Plaintiffs allege that their members use federal highways and thus may be

impacted by a differential undercount from a reduction in federal highway funding. See, e.g., SAC

¶¶ 26, 38, 52. However, Plaintiffs have not offered any proposed expert opinions or testimony about

what the impact of any differential undercount would be on federal highway funding, so this is merely

unsupported speculation. Accordingly, NGO Plaintiffs will be unable to produce evidence at trial to

prove that either they as organizations or their individual members are likely to suffer a direct harm as

a result of a reduction of federal funding.

    II.       The Secretary’s decision to reinstate a citizenship question was eminently
              reasonable based on the record before him and must be upheld under the APA.

          Plaintiffs challenge the Secretary’s decision to reinstate a citizenship question under the

Administrative Procedure Act (APA), 5 U.S.C. § 706. See, e.g., SAC ¶¶ 189-96. The question for the

Court is whether Plaintiffs can demonstrate that the Secretary’s decision was “arbitrary, capricious, an




          8
             Defendants note that under Dr. Reamer’s own calculations, 13 out of the 19 state
governments (including the District of Columbia) that are Plaintiffs in this action would actually see
an increase in federal Title I under most of the scenarios he used, and only two states—New York and
New Jersey—would see a reduction in funding under all seven scenarios he used in his calculations.
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abuse of discretion, or otherwise not in accordance with law” based on the record that was before him

at the time of his decision. 5 U.S.C. § 706(2). Plaintiffs will not be able to show that the Secretary

failed to clear this low bar, and the Court should enter judgment for Defendants.

            A. Legal standards for review under the Administrative Procedure Act.

                        1. Agency actions are reviewed only for reasonableness.

        The APA provides only for limited judicial review of agency actions. Guertin v. United States,

743 F.3d 382, 385 (2d Cir. 2014). A court is authorized to set aside an agency action if it is arbitrary

and capricious. In deciding an arbitrary-and-capricious claim, the question for the Court ultimately is

whether the agency’s decision “was the product of reasoned decisionmaking.” Motor Vehicle Mfrs.

Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co. (“State Farm”), 463 U.S. 29, 52 (1983). Consequently,

“[u]nder the arbitrary-and-capricious standard, judicial review of agency action is necessarily narrow.”

Islander E. Pipeline Co. v. McCarthy, 525 F.3d 141, 150 (2d Cir. 2008). “A reviewing court may not itself

weigh the evidence or substitute its judgment for that of the agency.” Id. A court does not determine

whether the decision “is the best one possible or even whether it is better than the alternatives.” Fed.

Energy Regulation Comm’n v. Elec. Power Supply Ass’n, 136 S. Ct. 760, 782 (2016). Indeed, “[w]hether [the

Court] would have done what the agency did is immaterial,” so long as the agency engages in an

appropriate decisionmaking process. Mingo Logan Coal Co. v. EPA, 829 F.3d 710, 718 (D.C. Cir. 2016).

The Court asks only whether the decision “was based on a consideration of the relevant factors and

whether there has been a clear error of judgment.” Citizens to Preserve Overton Park, Inc. v. Volpe, 401

U.S. 402, 416 (1971).

        “An agency decision will thus only be set aside if it “has relied on factors which Congress had

not intended it to consider, entirely failed to consider an important aspect of the problem, offered an

explanation for its decision that runs counter to the evidence before the agency, or is so implausible

that it could not be ascribed to a difference in view of the product of agency expertise.” Bechtel v.


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Admin. Review Bd., 710 F.3d 443, 446 (2d Cir. 2013) (citation omitted). The Court’s role is limited to

determining “whether the agency has ‘examine[d] the relevant data and articulate[d] a satisfactory

explanation for its action including a rational connection between the facts found and the choice

made.’” Waterkeeper All., Inc. v. EPA, 399 F.3d 486, 498 (2d Cir. 2005) (quoting State Farm, 463 U.S.

at 43). And “[t]hat requirement is satisfied when the agency’s explanation is clear enough that its ‘path

may reasonably be discerned.’” Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016) (citation

omitted).

        The Court’s review in this case must be particularly deferential because Plaintiffs challenge the

Secretary’s broad discretion over the census. “The text of the Constitution vests Congress with virtually

unlimited discretion in conducting the decennial ‘actual Enumeration,’” and “there is no basis for thinking

that Congress’ discretion is more limited than the text of the Constitution provides.” Wisconsin v. City

of New York, 517 U.S. 1, 19 (1996) (quoting art. 1, § 2, cl. 3) (emphasis added). Congress, in turn, “has

delegated its broad authority over the census to the Secretary.” Wisconsin, 517 U.S. at 19(citing 13

U.S.C. § 141(a)).   Thus, as this Court has recognized, “‘[t]he wide discretion bestowed by the

Constitution upon Congress, and by Congress upon the Secretary’ demands a high degree of ‘judicial

deference’ to the Secretary’s decisions concerning the conduct of the census.” New York v. U.S. Dep’t

of Commerce, 315 F. Supp. 3d 766, 799 (S.D.N.Y. 2018) (quoting Wisconsin, 517 U.S. at 22-23).

                      2. The agency’s decision is judged against the record before it.

        Plaintiffs’ arbitrary-and-capricious claim should be resolved as a matter of law based on an

evaluation of the record before the agency decisionmaker. “Where, as here, ‘a party seeks review of

agency action under the APA, the district judge sits as an appellate tribunal,’ and ‘[t]he entire case on

review is a question of law.’” Koopmann v. U.S. Dep’t of Transp., __ F. Supp. 3d __, 2018 WL 3946450,

at *3 (S.D.N.Y. Aug. 16, 2018) (quoting Am. Biosci., Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir.

2001)). “Indeed, ‘district courts reviewing agency action under the APA’s arbitrary and capricious


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standard do not resolve factual issues’” as a matter of course. Ass’n of Proprietary Colls. v. Duncan, 107

F. Supp. 3d 332, 344 (S.D.N.Y. 2015) (quoting James Madison Ltd. ex rel. Hecht v. Ludwig, 82 F.3d 1085,

1096 (D.C. Cir. 1996)). That is because “the question whether an agency acted in an arbitrary and

capricious manner is a legal one which the district court can resolve on the agency record.” Greene v.

Carson, 256 F. Supp. 3d 411, 423 (S.D.N.Y. 2017) (quoting Glara Fashion, Inc. v. Holder, No. 11-cv-889,

2012 WL 352309, at *5 (S.D.N.Y. Feb. 3, 2012)) (alterations omitted).

        To the extent Plaintiffs seek to introduce expert testimony going to the merits of the APA

claim, that testimony is not properly the subject of APA review because it was not before the Secretary

and irrelevant to his decision. Considering expert testimony after the fact is inconsistent with the

APA standard of review and the required deference to the agency’s factfinding. See, e.g., Vt. Yankee

Nuclear Power Corp. v. Nat. Resources Def. Council, Inc., 435 U.S. 519, 549 (1978); Walter O. Boswell Mem’l

Hosp. v. Heckler, 749 F.2d 788, 792 (D.C. Cir. 1984. Materials produced in discovery (which

Defendants contend was improper here) likewise are not properly considered in a review of agency

action under the APA unless Plaintiffs establish that those materials should be considered part of the

“whole record” before the agency. 5 U.S.C. § 706; see e.g., Camp v. Pitts, 411 U.S. 138, 142 (1973) (per

curiam); Sierra Club v. U.S. Army Corps of Eng’rs, 772 F.2d 1043, 1051-52 (2d Cir. 1985).

            B. The Secretary reasonably explained his decision to reinstate a citizenship
               question on the decennial census.

        Plaintiffs will not be able to establish that the Secretary’s decision to reinstate a citizenship

question on the decennial census, based on the record before him, was arbitrary and capricious.

                      1. The Secretary reasonably concluded that reinstating a citizenship
                         question would provide the most appropriate citizenship data.

        The record establishes that the Secretary “articulate[d] a satisfactory explanation for [his]

action including a rational connection between the facts found and the choice made.’” Waterkeeper

All., Inc., 399 F.3d at 498 (quoting State Farm, 463 U.S. at 43). Plaintiffs cannot show that the basis


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for the Secretary’s decision to act upon DOJ’s request and reinstate a question with long historical

precedent was arbitrary and capricious. SAC ¶¶ 191-92.

        The Secretary explained in his decision memorandum that the inclusion of a citizenship

question on the census is an accepted method of collecting citizenship data. AR 1313-20. The

Commerce Department’s review of the issue showed “that collection of citizenship data by the Census

has been a long-standing historical practice,” including through regular inclusion in the decennial

census through 1950, in the long-form census through 2000, and in the ACS since 2005. Id. at 1314.

As the Secretary observed, “the decision to collect citizenship information from Americans through

the decennial census was first made centuries ago.” Id. at 1319. Further, the inclusion of a citizenship

question is far from unusual in comparative perspective; the United Nations recommends that nations

inquire about citizenship and a number of democracies include such a question on their census. Id. at

1319. Given the ubiquity of citizenship questions, the reinstatement of a citizenship question on the

2020 decennial census was a subject under consideration by various stakeholders and government

officials. E.g., id. at 763, 1319. As a result, the Secretary’s consideration of issues related to the 2020

decennial census included reinstatement of a citizenship question. Id. at 1321.

        Against this backdrop, the Secretary solicited the DOJ’s views on the subject and, in December

2017, received DOJ’s formal request in December 2017 “that the Census Bureau reinstate on the 2020

Census questionnaire a question regarding citizenship.” AR 663. The Gary Letter explains that DOJ

“needs a reliable calculation of the citizen voting-age population in localities where voting rights

violations are alleged or suspected” and opines that the decennial census is “the most appropriate

vehicle for collecting that data.” Id. The Gary Letter observes that DOJ “needs to be able to obtain

citizen voting-age population data for census blocks, block groups, counties, towns, and other

locations,” that DOJ previously used citizenship data collected from the long-form census for that

purpose, and that decennial census questionnaire data, “if available, would be more appropriate” than


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ACS data for VRA purposes because it would provide block-level CVAP data. Id. at 664-65.

        The Secretary “set out to take a hard look at the request” and ensure that he “considered all

facts and data relevant to the question.” AR 1313. The Commerce Department and the Census

Bureau “began a thorough assessment that included legal, program, and policy considerations.” Id.

This review included, for example, the preparation by the Census Bureau of a technical review of the

request, id. at 1277-85; a detailed exchange between the Commerce Department and the Census

Bureau about the technical review, id. at 1286-97; multiple meetings between the Secretary and Census

Bureau leadership to discuss the Census Bureau’s “process for reviewing the DOJ request, their data

analysis, [the Secretary’s] questions about accuracy and response rates, and their recommendations,”

id. at 1313; and extensive engagement with stakeholders, id. at 763-1276. At the conclusion of this

process, the Secretary reasonably determined that the “census-block-level citizenship data requested

by DOJ [was] not available” from existing surveys conducted by the Census Bureau. Id. at 1314. The

Secretary also reasonably accepted DOJ’s determination that, because “DOJ and the courts use CVAP

data for determining violations of Section 2” of the VRA, “having these data at the census block level

will permit more effective enforcement.” Id. at 1313; see also id. at 664-65. 9

        The Secretary thus proceeded to evaluate the available options. AR 1317. Through extensive

consultation with the Census Bureau, the Secretary identified four options: making no change in data

collection but assisting DOJ with statistical modeling (“Option A”); reinstating a citizenship question

on the decennial census (“Option B”); obtaining citizenship data from administrative records for the

whole census population (“Option C”); and, at the request of the Secretary after receiving the Census

Bureau’s analysis, a combination of reinstating the question on the census and utilizing administrative-



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          As amicus curiae the Project on Fair Representation has previously explained at length, the
relative difficulties in using ACS CVAP data, as compared to an actual enumeration of citizens, are
well documented; a number of the Plaintiffs previously made this case in the Supreme Court. Br. in
Supp. of Defs.’ Mot. to Dismiss at 8-11, ECF 167-1; see also, e.g., AR 532-36.
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record data (“Option D”). Id. at 1314-17. With the goal of “obtaining complete and accurate data” on

citizenship, id. at 1313, the Secretary concluded that Option D—“placing the question on the

decennial census and directing the Census Bureau to determine the best means to compare the

decennial census responses with administrative records”—would “provide DOJ with the most

complete and accurate CVAP data in response to its request.” Id. at 1317.

        Thus, the Secretary traced the steps from the facts found during the agency’s extensive review

of DOJ’s request to his ultimate decision. AR 1313-20. This reasonable explanation of the Secretary’s

decision process is all that is required to survive arbitrary-and-capricious review. Even if the Court

doubts that the Secretary’s conclusions necessarily follow from the facts found, the Court “should

‘uphold a decision of less than ideal clarity if the [Secretary’s] path may reasonably be discerned.’”

FCC v. Fox Television Stations, Inc., 556 U.S. 502, 513-14 (2009) (citation omitted). And here, the

Secretary’s path is readily understood from his memorandum, such that the Secretary “articulate[d] a

satisfactory explanation for [his] action including a ‘rational connection between the facts found and

the choices made.” Cent. Hudson Gas & Elec. Corp. v. FERC, 783 F.3d 92, 108 (2d Cir. 2015) (quoting

State Farm, 463 U.S. at 43).

                      2. The Secretary engaged in an appropriate process, including the
                         consideration of alternatives, and explained his rationale.

        To the extent Plaintiffs suggest that the Secretary’s decision was arbitrary and capricious

because he “failed to consider an important aspect of the problem” or “offered an explanation for its

decision that runs counter to the evidence before the agency,” Bechtel, 710 F.3d at 446, that claim is

belied by the record. The Secretary engaged in a process that identified various issues related to the

inclusion of a citizenship question, considered alternative proposals, and explained his rationale for

rejecting or accepting the different options presented based on the evidence before him. What matters

for APA review is that the Secretary engaged in this process and deliberately considered the options—

not whether his decision was “the best one possible or even whether it [was] better than the

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alternatives.” Elec. Power Supply Ass’n, 136 S. Ct. at 782. Under this deferential standard, Plaintiffs

cannot show that the Secretary engaged in an arbitrary and capricious review.

        First, Plaintiffs cannot show that the Secretary failed to consider alternatives. See SAC ¶ 192.

The Secretary considered four proposals and reasonably concluded that Option D would provide

DOJ with the most complete and accurate CVAP data. AR 1314-17. That the Census Bureau

recommended Options A or C, id. at 1277, and expressed reservations about Option D, id. at 1312,

does not render the Secretary’s decision unreasonable. Given the broad deference afforded the

Secretary by virtue of the congressional delegation of broad discretion over the census, “the mere fact

that the Secretary’s decision overruled the views of some of his subordinates is by itself of no moment

in any judicial review of his decision.” Wisconsin, 517 U.S. at 23. The Secretary, “like all agency heads,

usually makes decisions after consulting subordinates, and those subordinates often have different

views.” St. Marks Place Hous. Co. v. U.S. Dep’t of Hous. & Urban Dev., 610 F.3d 75, 83 (D.C. Cir. 2010).

All that is required is that the Secretary consider the important issues—including those highlighted by

his subordinates—and provide a rational explanation for his decision. State Farm, 463 U.S. at 43.

        Next, Plaintiffs cannot show that the Secretary failed to consider effects on the response rate.

SAC ¶ 193. This issue was brought to the Secretary’s attention both by the Census Bureau, AR 1315-

16, and by stakeholders, see, e.g., id. at 1090-1101. The Secretary reviewed the available materials and

concluded that “no one provided evidence that reinstating a citizenship question on the decennial

census would materially decrease response rates.” Id. at 1315, 1317. The Secretary explained that the

Census Bureau could address any nonresponse through NRFU and, in any event, “the value of more

complete and accurate data derived from surveying the entire population outweighs such concerns.”

Id. at 1319. That judgment was further informed by the fact that there is a legal duty to respond to

the census, 13 U.S.C. § 221, and the Secretary concluded that the value of providing accurate data to

DOJ was “of greater importance than any adverse effect that may result from people violating their


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legal duty to respond.” AR 1319. Regardless, to help minimize any effect on response rates, the

Secretary decided that the citizenship question should be the last question on the form. Id. at 1320.

        Plaintiffs also cannot show that the Secretary failed to consider cost implications. SAC ¶ 193.

Indeed, the Secretary’s decision memorandum states that he “considered whether reinstating the

citizenship question on the 2020 Census will lead to any significant monetary costs, programmatic or

otherwise.” AR 1319. The Secretary concluded that the costs of preparing and adding the question

to the census would be de minimis. Id.; see also, e.g., id. at 1279 (Census Bureau conclusion that “the cost

of preparing the new question would be minimal”). The Secretary also addressed concerns about

increased non-response follow-up. As previously explained, the Secretary concluded that there was

no empirical evidence that inclusion of a citizenship question would have a material effect on response

rates. Id. at 1319. But in any event, the Secretary evaluated the Census Bureau’s rough estimate that

630,000 additional households could go into NRFU and concluded that the additional costs from this

increase of approximately 0.5% in NRFU operations—at least $27.5 million, according to the

Bureau—fell within the margin of error for the Bureau’s cost estimates provided to Congress. Id.; see

also id. at 1281-82 (Census Bureau cost analysis for Option B). The Secretary must be afforded

deference in making budgetary decisions. See Massachusetts v. EPA, 549 U.S. 497, 527 (2007) (“As we

have repeated time and again, an agency has broad discretion to choose how best to marshal its limited

resources and personnel to carry out its delegated responsibilities.”).

        Lastly, Plaintiffs cannot show that the Secretary failed to consider the issue of testing for the

reinstatement of a citizenship question. SAC ¶ 194. When the Census Bureau receives a request from

other agencies for a new question on the ACS, the Bureau typically “work[s] with the other agencies

to test the question (cognitive testing and field testing).” AR 1296. In reviewing DOJ’s request to

reinstate a question on the census, the Census Bureau concluded that, “[s]ince the question is already

asked on the American Community Survey, [it] would accept the cognitive research and questionnaire


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testing from the ACS instead of independently retesting the citizenship question.” Id. at 1279. In his

memorandum, the Secretary thus reasonably concluded that “the citizenship question has already

undergone the cognitive research and questionnaire testing required for new questions.” Id. at 1319.

        In sum, the Secretary conducted a comprehensive review before arriving at the decision to

reinstate a citizenship question on the 2020 decennial census. The Secretary responded to objections

and concerns from the Census Bureau and concluded that Option D nonetheless was the appropriate

choice given the evidence before him. It is entirely rational for the Secretary to conclude that, where

there is a lawful and historical practice of including a citizenship question, unsubstantiated concerns

over an undercount resulting from an unlawful refusal to respond to the census—which could be

addressed through increased NRFU—are outweighed by the need to provide DOJ with more

complete block-level CVAP data.          And it is entirely consistent with the Secretary’s broad,

congressionally delegated authority to rest these complicated policy determinations over the

administration of the census with the Secretary.

            C. Plaintiffs’ Claims of “Pretext” Do Not Provide a Basis for Vacating the
               Secretary’s Decision.

        As a last-ditch effort to prevail on their APA claim, Plaintiffs likely will argue that the decision

should be set aside because the rationale was pretextual, relying on a mischaracterization of the

Secretary’s testimony before Congress and statements made by officials other than the actual

decisionmaker. Plaintiffs’ theory is flawed from start to finish.

        To begin, as the Supreme Court repeatedly has explained, where there is a “contemporaneous

explanation” for an agency’s decision, its validity “must . . . stand or fall on the propriety of that

finding.” Camp, 411 U.S. at 143. Because the court should be applying “the appropriate APA standard

of review to the agency decision based on the record the agency presents to the reviewing court,” Fla.

Power & Light Co. v. Lorion, 470 U.S. 729 743-44 (1985) (internal citation omitted), Plaintiffs should

not be able to rely on material outside the properly designated administrative record to argue that an
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agency acted arbitrarily and capriciously any more than an agency can rely on post-hoc rationalizations

to defend the rationality of its actions. See SEC v. Chenery Corp., 318 U.S. 80, 94 (1943). Plaintiffs’

attempt to impugn the Secretary’s credibility based on extra-record material—including the utterances

of others—and statements which post-date the decision should be rejected at the outset.

        Further, Plaintiffs cannot demonstrate that the Secretary did not believe the rationale set forth

in his decision memorandum or that the Secretary’s initial policy preferences, whatever they may have

been, render his ultimate decision arbitrary and capricious. Even if the Secretary had additional reasons

for reinstating a citizenship question or expressed interest in adding a question before hearing from

DOJ, the analysis under the APA would remain unchanged. See Jagers v. Fed. Crop Ins. Corp., 758 F.3d

1179, 1186 (10th Cir. 2014) (rejecting argument that “the agency’s subjective desire to reach a

particular result must necessarily invalidate the result, regardless of the objective evidence supporting

the agency’s conclusion”). Indeed, there are myriad legitimate reasons more-precise citizenship data

could prove useful to both the federal and state governments, including policy formation and resource

allocation. This is why Plaintiffs’ attempt to rip from context Mr. Comstock’s statement that “[his]

job is to figure out how to carry out what [his] boss asks [him] to do . . . and . . . find a legal rationale,”

Comstock Dep. Tr. at 266:7-8, ECF No. 314-8, is misguided. It is utterly unremarkable for an agency

head to enter office with predispositions toward certain policy choices and, as Mr. Comstock

explained, “what a policy person does” is to “help them find the best rationale to do it,” or, “if it’s not

legal, you tell them that.” Id.     That the Secretary thought reinstatement of a citizenship question

“could be warranted,” AR 1321, and asked his staff to explore such an action, is neither unexpected

nor evidence of improper decisionmaking. As Justice Gorsuch has explained, “there’s nothing unusual

about a new cabinet secretary coming to office inclined to favor a different policy direction, soliciting

support from other agencies to bolster his views, disagreeing with staff, or cutting through red tape.”

In re Dep’t of Commerce, __ S. Ct. __, 2018 WL 5259090, at *1 (Oct. 22, 2018) (Gorsuch, J., concurring

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in part and dissenting in part).

        Plaintiffs’ anticipated reliance on statements by officials other than the Secretary himself is

even further afield. That other officials might have supported the reinstatement of a citizenship

question for different reasons does not indicate that the reasons given by the actual decisionmaker—

the Secretary—were pretextual. And most of the statements on which Plaintiffs rely, including general

expressions about immigration, see, e.g., NYIC Compl. ¶¶ 105-09, do not even concern the census or

the citizenship question whatsoever.

        Moreover, even if relevant, no statements of other officials plausibly give rise to a cognizable

inference of pretext here. Plaintiffs likely will insist, for example, that the Secretary’s reliance on VRA

enforcement was pretextual because, early in his tenure at the Department of Commerce, the Secretary

spoke with Kris Kobach about the potential inclusion of a census question on both citizenship and

lawful status. But as explained more fully below, infra Section III, Plaintiffs have unearthed no

evidence that the Secretary shared or was influenced by Kobach’s outreach—indeed, the Secretary

rejected the latter’s proposed question. Plaintiffs’ reliance on this isolated, unsolicited communication

as evidence of pretext is misplaced.

        Finally, Plaintiffs’ expected attempt to demonstrate pretext through the Secretary’s

congressional testimony is both inappropriate and unpersuasive. The statements at issue cannot shed

light on any proper inquiry under the APA. Further, there is no legitimate basis to conclude that, in

context, the Secretary’s statements were misleading. For example, the Secretary in his March 2018

memorandum did not say he “‘set out to take a hard look” at adding the citizenship question following

receipt of the Gary Letter; the Secretary actually said he “set out to take a hard look at the request” to

“ensure that [he] considered all facts and data relevant to the question so that [he] could make an

informed decision on how to respond. AR 1313 (emphasis added). That statement does not

necessarily imply that he had not previously considered whether to reinstate a citizenship question, or


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that he had not had discussions with other agencies or government officials before he received DOJ’s

formal request. Nor would it have made sense for the Secretary to take a “hard look” at DOJ’s request

before receiving it.

           Similarly, the Secretary’s March 20 statement to Congress that he was “‘responding solely to

the Department of Justice’s request,’” Hr’g on FY 2019 Dep’t of Commerce Budget: Hearing Before

the Subcomm. On Commerce, Justice, Sci. & Related Agencies of the H. Comm. on Appropriations,

115th Cong. 9 (2018), at 2018 WLNR 8815056, was actually in answer to a question asking whether

he was also responding to requests from third parties, see id. And the Secretary’s March 22 statement

that DOJ “‘initiated the request for inclusion of the citizenship question,’” Hr’g on Recent Trade

Actions, Including Section 232 Determinations on Steel & Aluminum, Hr’g Before the H. Ways &

Means Comm., 115th Cong. 24 (2018), at 2018 WLNR 8951469, was in response to a question about

whether Commerce planned to include a citizenship question on the 2020 census, not a question about

the Secretary’s decision-making process.         The statement was immediately followed by an

acknowledgment that he had been communicating with “quite a lot of parties on both sides of [the]

question” and that he “ha[d] not made a final decision, as yet” on this “very important and very

complicated question,” id.      Only by ignoring the context of these statements and eliding the

presumption of regularity do Plaintiffs claim they are indicative of pretext.

    III.      The Secretary’s decision did not deny Plaintiffs equal protection.

           Despite wide-ranging and intrusive discovery, Plaintiffs have uncovered no evidence to

substantiate their speculation that discriminatory animus motivated the Secretary’s decision. Plaintiffs

cannot carry their burden to demonstrate that the decision “was motivated by discriminatory animus

and its application results in a discriminatory effect.” Hayden v. Cty. of Nassau (“Hayden I”), 180 F.3d

42, 48 (2d Cir. 1999). Although Plaintiffs need not show that discrimination was the sole or primary

factor motivating the Secretary, United States v. City of Yonkers, 96 F.3d 600, 611 (2d Cir. 1996), to


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establish a due-process violation, they must put forth evidence that an “invidious discriminatory

purpose was a motivating factor” in the challenged decision. Vill. of Arlington Heights v. Metro. Hous.

Dev. Corp. (“Arlington Heights”), 429 U.S. 252, 266 (1977). Plaintiffs have exposed no such evidence.

        Plaintiffs will be unable to offer any clear evidence of discriminatory intent. First, Plaintiffs

rely heavily on a purported disproportionate impact on certain minority groups comprised of relatively

large proportions of immigrants. But “a racially disproportionate impact” alone is virtually never

sufficient to establish discriminatory intent, Arlington Heights, 429 U.S. at 264-65, and especially not

here because Plaintiffs’ theory of harm relies upon intentional choices to ignore a legal duty by the very

individuals Plaintiffs claim will suffer a disproportionate impact. (The decision itself, of course, is

facially neutral in its applicability). And in any event, Plaintiffs’ ignores the fact that DOJ requested

block-level CVAP data in order to protect the voting rights of minority citizens. Even if large numbers

of individuals will avoid the 2020 census, it is entirely predictable that an undercount of any community

would have a disparate impact on members of that group—that is a function of the uses to which the

census is put, not evidence of discrimination. Regardless, it would defy logic to allow individuals who

fail to comply with their legal duty to participate in the decennial population count to thwart the

government’s ability to collect common-sense information that has been gathered throughout this

country’s history.

        Second, Plaintiffs insist that statements by other people both within and outside the current

administration—most of which have nothing to do with the census or the challenged decision—

evidence discriminatory motive by the Secretary. See, e.g., ECF No. 70 (“NYIC MTD Order”) at 66

(citing NYIC Compl. ¶ 109). But those arguments are utterly meritless. Statements by officials who

did not participate in the decision to reinstate a citizenship question on unrelated topics cannot shed

light on “the decisionmaker’s purposes.” Arlington Heights, 429 U.S. at 267. Plaintiffs’ attempt to

impute the purported motives of others to the Secretary should be rejected because, despite the


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production of thousands of documents, Plaintiffs have unearthed nothing to suggest that the Secretary

harbored any discriminatory animus.

        In particular, Plaintiffs likely will accentuate the fact that the Secretary had a single

conversation with Steven Bannon. See Defs.’ Second Supp. Resp. to Pls.’ First Inter., at 3. But the

record shows that Bannon “called Secretary Ross in the Spring of 2017 to ask Secretary Ross if he

would be willing to speak to then-Kansas Secretary of State Kris Kobach about Secretary Kobach’s ideas

about a possible citizenship question.” Id. The record does not support Plaintiffs’ conjecture that

this single conversation evidences that Bannon had a discriminatory motive for connecting the

Secretary to Kobach. Moreover, the administrative record shows that Kobach urged the Secretary to

add an entirely new question to the census—one that would ask respondents about their legal status—

a request the Secretary flatly rejected. See AR 763-64. And none of the documents produced in

discovery provide any evidence that the Secretary was motivated by Kobach’s belief that a lack of

census citizenship data “leads to the problem that aliens who do not actually ‘reside’ in the United

States are still counted for congressional apportionment purposes.” Id. at 764. None of the materials

Plaintiffs are expected to rely upon provide any evidence of a secret discriminatory motive for the

reinstatement of a citizenship question.

        Third, Plaintiffs likely will attempt to show that the Secretary’s stated reasons for reinstating a

citizenship question are designed to mask the true motive: invidious discrimination. But such an

“extraordinary claim of bad faith . . . requires an extraordinary justification,” and Plaintiffs come

nowhere close to meeting that burden. In re Dep’t of Commerce, 2018 WL 5259090, at *1 (Gorusch, J.,

concurring in part and dissenting in part). Indeed, Plaintiffs will be unable to offer any reliable support

for a finding that the Secretary’s rationale is anything other than what is set forth in his decision, as

the government explained above, see supra Section II.        Plaintiffs’ trial submissions will be utterly

devoid of proof that “the decisionmaker … selected or reaffirmed” his decision “at least in part


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‘because of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group.” Personnel Adm’r of

Mass. v. Feeney, 442 U.S. 256, 279 (1979) (citation and footnote omitted).

        Fourth, Plaintiffs are expected to continue to rely on purported “[d]epartures from the normal

procedural sequence.” Arlington Heights, 429 U.S. at 267. Although this Court credited alleged

“procedural irregularities” in denying the motion to dismiss, NYIC MTD Order at 63, the procedures

employed by the Secretary in reaching his decision neither shed light on his motives nor provide any

creditable evidence of discriminatory purpose. See In re Dep’t of Commerce, 2018 WL 5259090, at *1

(Gorsuch, J., concurring in part and dissenting in part). Plaintiffs will likely offer evidence to support

their allegation that the Secretary “ignored the advice of the Census Bureau’s professional staff, its

scientific advisory committee, and six previous Census directors.” NYIC Compl. ¶ 7. But this cannot

tip the scales in any analysis of purported discrimination because, as the Supreme Court has made

clear, “the mere fact that the Secretary’s decision overruled the views of some of his subordinates is

by itself of no moment in any judicial review of his decision.” Wisconsin, 517 U.S. at 23; see also In re

Dep’t of Commerce, 2018 WL 5259090, at *1 (Gorsuch, J., concurring in part and dissenting in part).

And the government already has explained that Plaintiffs’ continued framing of the question as

“untested,” NYIC Compl. ¶ 151, is inaccurate because, as the Secretary explained, the citizenship

question “has already undergone the … testing required for new questions” because the question “is

already included on the ACS,” meaning that it “has been well tested.” AR 1314, 1319. Although

circumstantial evidence may be considered in evaluating a claimed violation of equal protection,

Arlington Heights, 429 U.S. at 266, Plaintiffs still must prove that the official action was “taken for

invidious purposes,” id. at 267. Plaintiffs will be unable to carry their burden.

                                                CONCLUSION

        For the foregoing reasons, judgment should be entered in favor of Defendants after trial.




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